        Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 1 of 12




                          BILL OF SALE AND ASSIGNMENT OF ACCOUNTS
                      FROM CREDIT ONE BANK. N.A. TO MHC RECEIVABLES, LLC

         As of June 30, 2018, for good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, Credit One Bank, N.A. ("Assignor") has transferred, has sold, has assigned, has conveyed, has granted
and has otherwise delivered to MHC Receivables, LLC ("Assignee"), all of Assignor's right, title and interest in and
to (i) the charged-off credit card accounts identified on an account level basis in the data file named
CreditOne_Sherman_072018 (the "Computer File"), a copy of which is attached hereto and incorporated herein by
reference as "Exhibit A"; and, (ii) certain related account level media or electronic copies thereof (including, but not
limited to applications, statements, terms and condition), and (iii) all claims or rights arising out of or relating to each
account referenced on the Computer File (collectively hereinafter, the "Accounts") including, but not limited to, all
claims and rights afforded each Account by virtue of that Account's corresponding terms and conditions.

          The Accounts transferred under the terms of this Bill of Sale and Assignment of Accounts were each
transferred to Assignee immediately following charge off for each applicable Account, as shown in the Computer File.

           With respect to information for the Accounts, Assignor represents and warrants to Assignee that the business
records conveyed to Assignee relating to: (i) the Accounts issued by Assignor; and (ii) the sale and assignment of
Accounts by Assignor (collectively, the "Business Records"), are kept by Assignor in the regular course of its business.
It is in the regular course of business of Assignor for an employee or an authorized representative with personal
knowledge of the act, event, condition, or opinion (collectively "Event") to be recorded, to make the appropriate
memorandum or recording of the Event at or reasonably near the time of the Event. Furthermore, Assignor represents
and warrants to Assignee that the Business Records are materially complete and accurate, and thoroughly embody the
information in Assignor's custody and control for the Accounts from their creation until the time of transfer to
Assignee. These representations and warranties are intended to augment any other representations and warranties the
parties may have in place and not supplant any other existing warranties and representations.

          This Bill of Sale and Assignment of Accounts shall serve as evidence of ownership for the Accounts
conveyed hereby and shall serve as an acknowledgment, as ratification, and as evidence of the intent of the parties to
transfer the Accounts.
                                                                  CREDIT ONE BANK, N.A.



                                                                        ary . wood
                                                                       Vi e President




                                          Exhibit "P-4"                                                                        001
        Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 2 of 12




                                                 EXHIBIT A


                                           ACCOUNT SCHEDULE

The Accounts that are specifically identified in the electronic file named CreditOne_Shcrman_072018 with such
electronic file incorporated herein by reference.




                                      Exhibit "P-4"                                                             002
        Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 3 of 12




                        BILL OF SALE AND ASSIGNMENT OF ACCOUNTS
                 FROM MHC RECEIVABLES, LLC TO SHERMAN ORIGINATOR ifi LLC

          On July 19, 2018, for good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, MHC Receivables, LLC ("Assignor"), hereby transfers, sells, assigns, conveys, grants and otherwise
delivers to Sherman Originator III LLC ("Assignee"), all of Assignor's, rights title and interest in and to (i) the
charged-off accounts identified on an account level basis in the data file named CreditOne_Sherman_072018 (the
"Computer File"), a copy of which is attached hereto and incorporated herein by reference as "Exhibit A"; and, (ii)
certain related account level media or electronic copies thereof (including, but not limited to applications, statements,
terms and condition), and (iii) all claims or rights arising out of or relating to each referenced account (collectively
hereinafter the "Accounts") including, but not limited to, all claims and rights afforded each account by virtue of that
account's corresponding terms and conditions.

          With respect to information for the Accounts described in the related Computer File, Assignor represents and
warrants to Assignee that the business records relating to: (i) the Accounts owned by Assignor; and (ii) the sale and
assignment of Accounts by Assignor (collectively, the "Business Records"), are kept by Assignor in the regular course
of its business. It is in the regular course of business of Assignor for an employee or an authorized representative with
personal knowledge of the act, event, condition, or opinion (collectively "Event") to be recorded, to make the
appropriate memorandum or recording at or reasonably near the time of the Event. Furthermore, Assignor represents
and warrants to Assignee that the Business Records are materially complete and accurate and thoroughly embody the
information in Assignor's custody and control for the Accounts listed in the Computer File from Assignor's receipt
of those Accounts until the time of transfer to Assignee. These representations and warranties are intended to augment
any other representations and warranties the parties may have in place and not supplant any other existing warranties
and representations.

        This Bill of Sale and Assignment of Accounts shall serve as evidence of ownership for any of the Accounts
conveyed hereby.


                                                                     MHC Receivables, LLC



                                                                     Mark Rufail, Authorized Representative




                                         Exhibit "P-4"                                                                      003
       Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 4 of 12




                                                 EXHIBIT A


                                           ACCOUNT SCHEDULE

The Accounts that are specifically identified in the electronic file named CreditOne_Sherman_072018 , with such
electronic file incorporated herein by reference.




                                      Exhibit "P-4"                                                               004
        Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 5 of 12




                          BILL OF SALE AND ASSIGNMENT OF RECEIVABLES
                       FROM CREDIT ONE BANK, N.A. TO MHC RECEIVABLES, LLC

         As of June 30, 2018, for good and valuable consideration, the receipt and sufficiency of which is hereby
acknowledged, Credit One Bank, N.A. ("Assignor") has transferred, has sold, has assigned, has conveyed, has granted
and has otherwise delivered to MHC Receivables, LLC ("Assignee"), all of Assignor's right, title and interest in and
to (i) the receivables associated with each and every account referenced in the data file named
CreditOne_Sherman_072018 (the "Computer File"), a copy of which is attached hereto and incorporated herein by
reference as "Exhibit A"; and, (ii) all claims or rights arising out of or relating to each of those Receivables (hereinafter,
the "Receivables").

         The Receivables transferred under the terms of this Bill of Sale and Assignment of Receivables were each
transferred to Assignee prior to the charge off of the associated accounts, as shown in the Computer File. This Bill of
Sale and Assignment of Receivables evidences the intent between the parties for the transfer of the Receivables, acts
as an acknowledgement of those transfers, and, to the extent necessary, ratification of the transfers.

         With respect to information for the Receivables, Assignor represents and warrants to Assignee that the
business records conveyed to Assignee relating to the Receivables (the "Business Records"), are kept by Assignor in
the regular course of its business. It is in the regular course of business of Assignor for an employee or an authorized
representative with personal knowledge of the act, event, condition, or opinion (collectively "Event") to be recorded,
to make the appropriate memorandum or recording of the Event at or reasonably near the time of the Event.
Furthermore, Assignor represents and warrants to Assignee that the Business Records are materially complete and
accurate, and thoroughly embody the information in Assignor's custody and control for the Receivables from their
creation until the time of transfer to Assignee. These representations and warranties are intended to augment any other
representations and warranties the parties may have in place and not supplant any other existing warranties and
representations.

          This Bill of Sale and Assignment of Receivables shall serve as evidence of ownership for the Receivables
conveyed hereby and shall serve as an acknowledgment, as ratification, and as evidence of the intent of the parties to
transfer the Receivables.
                                                                   CREDIT ONE BANK, N.A.



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                                                                        Vice 'resident




                                          Exhibit "P-4"                                                                          005
       Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 6 of 12




                                                 EXHIBIT A


                                           ACCOUNT SCHEDULE

The Accounts that are specifically identified in the electronic file named CreditOne_Sherman_072018 with such
electronic file incorporated herein by reference.




                                     Exhibit "P-4"                                                              006
       Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 7 of 12




                            BILL OF SALE AND ASSIGNMENT OF RECEIVABLES
                              FROM MHC RECEIVABLES. LLC, TO FNBM, LLC

          As of July 19, 2018, MHC Receivables, LLC ("Assignor"), for good and valuable consideration, the receipt
and sufficiency of which is hereby acknowledged, has periodically transferred, has sold, has assigned, has conveyed,
has granted and has otherwise delivered to FNBM, LLC, ("Assignee") all of its rights, title and interest in and to (i)
the receivables identified and specifically referenced for each of the accounts on an account level basis on the data file
titled CreditOne_Sherman_072018 attached hereto and incorporated by reference as "Exhibit A"; and (ii) all claims
or rights arising out of or relating to the account level receivables (hereinafter the "Receivables").

         With respect to information for the Receivables, Assignor represents and warrants to Assignee that the
business records conveyed to Assignee relating to the Receivables (the "Business Records"), are kept by Assignor in
the regular course of its business. It is in the regular course of business of Assignor for an employee or an authorized
representative with personal knowledge of the act, event, condition, or opinion (collectively "Event") to be recorded,
to make the appropriate memorandum or recording of the Event at or reasonably near the time of the Event.
Furthermore, Assignor represents and warrants to Assignee that the Business Records are materially complete and
accurate, and thoroughly embody the information in Assignor's custody and control for the Receivables from their
creation until the time of transfer to Assignee. These representations and warranties are intended to augment any other
representations and warranties the parties may have in place and not supplant any other existing warranties and
representations.

This Bill of Sale and Assignment of Receivables shall serve as an acknowledgment, as ratification, and as evidence
of the intent of the parties to transfer the Released Receivables referenced herein.



                                                                      MHC Receivables, LLC




                                                                      Mark Rufail, Authorized Representative




                                         Exhibit "P-4"                                                                       007
       Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 8 of 12




                                                  EXHIBIT A

                                            ACCOUNT SCHEDULE

The Accounts that are specifically identified in the electronic file named CreditOne_Sherrnan_072018 , with such
electronic file incorporated herein by reference.




                                      Exhibit "P-4"                                                                008
        Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 9 of 12




                           BILL OF SALE AND ASSIGNMENT OF RECEIVABLES
                          FROM FNBM. LLC, TO SHERMAN ORIGINATOR ifi LLC

         On July 19, 2018, FNBM, LLC ("Assignor"), for good and valuable consideration, the receipt of which is
hereby acknowledged, hereby transfers, sells, assigns, conveys, grants and delivers to Sherman Originator III LLC
("Assignee"), all of its rights, title and interest in and to (i) the receivables identified and specifically referenced for
each of the accounts on an account level basis on the data file titled CreditOne_Sherman_072018 attached hereto
and incorporated by reference as "Exhibit A"; and (ii) all claims or rights arising out of or relating to the receivables
(hereinafter the "Receivables").

         With respect to information for the Receivables, Assignor represents and warrants to Assignee that the
business records relating to the Receivables (the "Business Records") are kept by Assignor in the regular course of its
business. It is in the regular course of business of Assignor for an employee or an authorized representative with
personal knowledge of the act, event, condition, or opinion (collectively "Event") to be recorded, to make the
appropriate memorandum or recording at or reasonably near the time of the Event. Furthermore, Assignor represents
and warrants to Assignee that the Business Records are materially complete and accurate and thoroughly embody the
information in Assignor's custody and control for the Receivables from Assignor's receipt of those Receivables until
the time of transfer to Assignee. These representations and warranties are intended to augment any other
representations and warranties the parties may have in place and not supplant any other existing warranties and
representations.

        This Bill of Sale and Assignment of Receivables shall serve as evidence of ownership for any of the
Receivables conveyed hereby.


                                                                       FNBM, LLC


                                                                                  AaaA             AA
                                                                       Jon Maz . ,Authorizer epresentative




                                          Exhibit "P-4"                                                                        009
      Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 10 of 12




                                                      EXHIBIT A
                                               ACCOUNT SCHEDULE
The Accounts that are specifically identified in the electronic file name CreditOne_Sherman_072018, with such
electronic file incorporated herein by reference.




                                      Exhibit "P-4"                                                             010
      Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 11 of 12




                                   Transfer and Assignment

   Sherman Originator III LLC ("SOLLC III"), without recourse, to the extent permitted by
applicable law, hereby transfers, sells, assigns, conveys, grants and delivers to Sherman
Originator LLC ("SOLLC") all of its right, title and interest in and to the receivables and other
assets (the "Assets") identified on Exhibit A, in the Receivable File dated July 06,2018
delivered by MHC Receivables, LLC and FNBM, LLC on July 19,2018 for purchase by SOLLC
HI on July 19, 2018. The transfer of the Assets included electronically stored business records.

    SOLLC, subsequent to the above mentioned transfer, hereby transfers, sells, assigns, conveys,
grants and delivers to LVNV Funding LLC ("LVNV"), the above mentioned Assets. The transfer
of the Assets included electronically stored business records.

                Dated: July 19, 2018                Sherman Originator III LLC
                                                    a Delaware Limited Liability C t mpany

                                                    By:         ALiA 1141
                                                           Na      Jon Maz
                                                           Titi - Director



                Dated: July 19, 2018                Sherman Originator LLC
                                                    a Delaware Limited Liability Company

                                                    By:
                                                                          ranigan
                                                           Title: Authorized Representative



                Dated: July 19, 2018                LVNV Funding LLC
                                                    a Delaware Li ited Liabiit\Company

                                                    By:        \1I                       I
                                                            Name: Rusty Kendall
                                                            Title: Authorized Representative




                                 Exhibit "P-4"                                                      011
    Case 2:21-cv-03449-JMY Document 1-4 Filed 08/03/21 Page 12 of 12




                                    Exhibit A
Receivables File
07.19.18 CreditOne_Sherman_072018

Transfer Group     Portfolio            Transfer Batch
534062             33698                N/A




                           Exhibit "P-4"                               012
